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              UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION

DEMOCRATIC EXECUTIVE COMMITTEE
OF FLORIDA, AND BILL NELSON FOR U.S.
SENATE,

              Plaintiffs,

v.                                    Case No. 4:18-CV-520-MW/MJF

KEN DETZNER, IN HIS OFFICIAL CAPACITY AS
FLORIDA SECRETARY OF STATE,

            Defendant.
__________________________/

     ORDER GRANTING PRELIMINARY INJUNCTION 1

       Consider the game of football. Football fans may quibble

about the substance of the rules, but no one quibbles that rules are

necessary to play the game. See generally Nat’l Football League,

2018 Official Playing Rules of the National Football League (2018).

And no one quibbles that football referees make certain calls, un-

der the rules, that deserve review. Indeed, not every call is going

to be clear—the ultimate decision may hinge on highly subjective

factors. Hence, a call will be overturned only when there is “clear


       1 This Court recognizes that time is of the essence inasmuch as the su-
pervisors of elections have received thousands of vote-by-mail ballots and the
recount of votes is currently underway. Moreover, this Court wishes to af-
ford the parties a meaningful opportunity to seek a stay of this order. Accord-
ingly, this order issues on an expedited basis.
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and obvious visual evidence available that warrants the change.”

Id. at 63.

         Among other things, the 2018 NFL Rules allow video review

for plays involving possession, boundary lines, the line of

scrimmage, and the goal line. See id. The NFL likewise provides

review for disqualification of players. Id. Coaches may challenge

calls themselves by throwing a red flag, or, in certain

circumstances, the referees may initiate review on their own. Id.

at 62.

         All that process. Just for a game.

         In this case, the Plaintiffs have thrown a red flag. But this

is not football. Rather, this is a case about the precious and funda-

mental right to vote—the right preservative of all other rights. And

it is about the right of a voter to have his or her vote counted.

There is no doubt there must be election laws. There is no doubt

that to run an election, the state must impose deadlines and rules

to govern an efficient and transparent election process. There is

no doubt that election officials must make certain calls, under the

rules, that deserve review. And there is no doubt some of those

calls may hinge on highly subjective factors.



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      The precise issue in this case is whether Florida’s law that

allows county election officials to reject vote-by-mail and provi-

sional ballots for mismatched signatures—with no standards, an

illusory process to cure, and no process to challenge the rejection—

passes constitutional muster. The answer is simple. It does not.

                                  I


      This is a case about vote-by-mail and provisional ballots.

Florida allows registered eligible voters, without an excuse, to cast

their ballots by mail, as opposed to casting their votes at their as-

signed precinct on Election Day. Fla. Stat. § 101.62 (2016). Voting

by mail has become a popular option for Florida voters. In the 2016

General Election, more than 2.7 million Florida voters either voted

or attempted to vote by mail. Fla. Dep’t. of State, Voting Activity

by Ballot Type for 2016 General Election, Florida Department of

State, Division of Elections (last visited Nov. 13, 2018),

https://dos.myflorida.com/media/697842/2016-ge-summaries-bal-

lots-by-type-activity.pdf. Provisional ballots may be cast when

there is uncertainty over whether a voter is eligible to vote. In the

2016 General Election, 24,460 Florida voters cast or attempted to




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cast a provisional ballot. Id. Both vote-by-mail and provisional bal-

lots are at risk of being rejected, and thus not cast, based on the

mismatch of a signature.


      Voters who choose to vote by mail must follow certain in-

structions provided by Florida law. For example, vote-by-mail vot-

ers must send their marked ballot back in a specially marked se-

crecy envelope. Id. § 101.65 (2016). Those voters also must insert

the secrecy envelope into another mailing envelope addressed to

the supervisor, seal that mailing envelope, and fill out the “Voter’s

Certificate” on the back of the mailing envelope. Id.


      For a vote-by-mail ballot to be counted, the envelope of that

ballot must include the voter’s signature. Id. Once the vote-by-mail

ballots are received, county canvassing boards review those ballots

to verify the signature requirement has been met. Id. § 101.68(c).

In addition to confirming the envelope is signed, the county can-

vassing boards confirm the signature on the envelope matches the

signature on file for a voter. These county canvassing boards are

staffed by laypersons that are not required to undergo formal




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handwriting-analysis education or training. 2 Moreover, Florida

has no formalized statewide procedure for canvassing boards to

evaluate whether the signature on a vote-by-mail ballot matches

the signature on file with the elections office. If the canvassing

board believes the signature on the vote-by-mail ballot does not

correspond to the signature on file with the supervisor of elections

office, the ballot is deemed “illegal” and is therefore rejected. Fla.

Stat. § 101.68(5). Under an earlier version of Florida law, vote-by-

mail voters had no opportunity to cure a mismatched signature on

a vote-by-mail ballot.


       In a previous case, this Court found the Florida statutory

scheme that provided an opportunity to cure no-signature ballots,

but denied that opportunity to mismatched-signature ballots, was

unconstitutional. Fla. Democratic Party v. Detzner, No. 4:16-cv-

607-MW/CAS, 2016 WL 6090943, at *1 (N.D. Fla. Oct. 16, 2016).

Thus, this Court entered a preliminary injunction requiring the

Florida Secretary of State to issue a directive to the supervisors of




       2The canvassing boards consist of “the [local] supervisor of elections; a
county court judge, who shall act as chair; and the chair of the board of county
commissioners.” Fla. Stat. § 102.141 (2018). Substitute members can be ap-
pointed as necessary. Id.
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elections advising them that Florida’s statutory scheme as it re-

lated to mismatched-signature ballots was unconstitutional. Id. at

*9. And in light of that finding, they were required to allow mis-

matched-signature ballots to be cured in the same way provided

for non-signature ballots. Id.


      In response to that injunction, Florida law was amended.

Now, if the canvassing board determines a vote-by-mail ballot con-

tains a signature that does not match the voter’s signature in the

registration books or precinct register, the supervisor “shall . . .

immediately notify” the voter. Fla. Stat. § 101.68(4)(a) (2017). Af-

ter notification, the voter may complete and submit an affidavit to

cure the vote-by-mail ballot until 5 p.m. on the day before the elec-

tion. Id. But notably, a vote-by-mail ballot may be received “not

later than 7 p.m. on the day of the election.” Id. § 101.6103(5)(c).


      The opportunity to cure is the last chance a vote-by-mail

voter has to save their vote from being rejected and not counted.

Florida law provides no opportunity for voters to challenge the de-

termination of the canvassing board that their signatures do not

match, and their votes do not count. Interestingly, Florida law does

provide an opportunity for any voter or candidate to challenge a


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signature that was accepted and thus a vote that was counted. Id.

§ 101.68(4). If any candidate or voter believes a vote-by-mail

should not have been counted because of a defect on the voter’s

certificate or cure affidavit “he or she may, at any time before the

ballot is removed from the envelope, file with the canvassing board

a protest against the canvass of the ballot, specifying the precinct,

the ballot, and the reason he or she believes the ballot to be illegal.”

Id. Even more striking is the fact that under Florida law, canvass-

ing boards may begin canvassing of vote-by-mail ballots at 7 a.m.

on the 15th day before the election, but no later than noon on the

day following the election. Fla. Stat. § 101.68(2)(a). Thus, a vote-

by-mail voter could mail their ballot in weeks early, but the can-

vassing board could also wait, canvass the ballot the day after the

election, determine there is a mismatched signature, and toss the

vote. The voter therefore gets no chance to cure, since curing must

be done by 5 p.m. the day before the election.

      Provisional ballots are also at issue in this case. In all elec-

tions, a voter claiming to be properly registered in the state and

eligible to vote at the precinct in the election, but whose eligibility

cannot be determined, or whom an election official asserts is not

eligible, is entitled to cast a provisional ballot. Id. § 101.048(1).

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Provisional ballots are placed in a secrecy envelope and sealed. The

person casting a provisional ballot has until 5 p.m. on the second

day following an election to present written evidence supporting

his or her eligibility to vote. Id. County canvassing boards examine

the provisional ballot voter’s certificate and affirmation, written

evidence provided by the provisional voter, any other evidence pre-

sented by the supervisor of elections, and, in the case of a change,

any evidence presented by the challenger to determine if the per-

son was eligible to vote. Id. § 101.048(2)(a). A provisional ballot

shall be cast unless the canvassing board finds by a preponderance

of the evidence the person was not entitled to vote. Id. After mak-

ing the initial eligibility determination, the county canvassing

board must further compare the signature on the provisional ballot

voter’s certificate with the signature on the voter’s registration. Id.

§ 101.048(2)(b)1. If the signatures match, the vote is counted. Id.

There is no mechanism for a voter to challenge the canvassing

board’s determination that the voter was or was not eligible to

vote. Nor is there a cure period for provisional ballots rejected

based on signature mismatch.




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      Plaintiffs brought this case arguing Florida’s use of signa-

ture matching for vote-by-mail and provisional ballots unconstitu-

tionally burdens the rights of Florida’s voters and deprives them

of equal protection of the law. Specifically, Plaintiffs seek an in-

junction that requires Defendants and anyone under their super-

vision to count any vote-by-mail or provisional ballots rejected

based on signature mismatching.


                                 II


      Before addressing the merits, this Court must address some

preliminary issues. The first is whether the Plaintiffs have stand-

ing. Next, this Court will address affirmative defenses raised by

Defendants.

                                 A

      Standing is a threshold matter this Court must determine

before proceeding to consider the merits of Plaintiffs’ claims. E.g.,

Via Mat Int’l S. Am. Ltd. v. United States, 446 F.3d 1258, 1262

(11th Cir. 2006). In certain scenarios, associations or organizations

have standing to assert claims based on injuries to itself or its

members if that organization or its members are affected in a tan-




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 gible way. The organization must allege “that at least one identi-

 fied member had suffered or would suffer harm.” Summers v.

 Earth Island Inst., 555 U.S. 488, 498 (2009).

       More specifically, an association or organization may “en-

 force the rights of its members ‘when its members would otherwise

 have standing to sue in their own right, the interests at stake are

 germane to the organization’s purpose, and neither the claim as-

 serted nor the relief requested requires the participation of the in-

 dividual members in the lawsuit.’ ” Arcia v. Fla. Sec’y of State, 772

 F.3d 1335, 1342 (11th Cir. 2014) (quoting Friends of the Earth v.

 Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 181 (2000)). This

 Court has further found political parties “have standing to assert,

 at least, the rights of its members who will vote in an upcoming

 election.” Detzner, 2016 WL 6090943, at *4.

       The Democratic Executive Committee of Florida (“DECF”)

 “is the statewide organization representing Democratic candidates

 and voters throughout the State of Florida . . .” ECF No. 1, at 4. Its

 purpose “is to elect Democratic Party candidates to public office

 throughout Florida.” Id. It has “millions of members and constitu-

 ents from across Florida, including millions of Floridians who are



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 registered [to vote in Florida], and many other Floridians who reg-

 ularly support and vote for candidates affiliated with the Demo-

 cratic Party.” Id. The other Plaintiff, Bill Nelson for U.S. Senate,

 is the “duly organized political campaign in support of Bill Nelson’s

 election to the United States Senate . . .” Id. at 7.

       The Plaintiffs need not identify specific voters that are reg-

 istered as Democrats who have had their vote-by-mail ballot re-

 jected due to apparent mismatched signatures. Two years ago, it

 was enough that some Democratic voters inevitably would.

 Detzner, 2016 WL 6090943 at *4. Now, it is enough that some in-

 evitably have.

       To be sure, Intervenor-Defendant the National Republican

 Senatorial Committee (“NRSC”), challenges the Plaintiffs’ stand-

 ing. They say the Plaintiffs must “show actual, not presumed, in-

 jury since the relevant events have occurred,” and that “it is not

 even remotely inevitable” that a member of the Plaintiff organiza-

 tions was denied the opportunity to cure a mismatched signature

 on a vote-by-mail or provisional ballot. ECF No. 27, at 11. Their

 argument is belied by the record. The Plaintiffs have set forth four

 affidavits of Democratic voters who attempted to vote by mail, only

 to have their ballots belatedly rejected for a signature mismatch.

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 See ECF Nos. 29, 32, 44, 45. The Florida Secretary of State’s divi-

 sion chief of elections likewise provided evidence that out of 45

 counties reporting so far, the state has rejected 3,688 vote-by-mail

 ballots and a further 93 provisional vote-by-mail ballots.

       In short, Plaintiffs have standing.

                                   B

       The Defendants argue the equitable doctrine of laches bars

 relief in this case. That is, they claim the Plaintiffs waited too long

 to assert their claim, can offer no legitimate justification for the

 delay, and the Defendants will be prejudiced. The Defendants rely

 on a Fourth Circuit case in which the court held laches barred a

 constitutional challenge to state election laws relating to a candi-

 date’s ability to appear on a ballot. Perry v. Judd, 471 F. App’x 219,

 224-25 (4th Cir. 2012). In this case, the Plaintiffs’ interest in hav-

 ing their votes counted is more substantial than an individual’s

 right to be on a ballot. See Burdick v. Takushi, 504 U.S. 428, 434

 (1992) (stating that “a court considering a challenge to a state elec-

 tion law must weigh the character and magnitude of the asserted

 injury”). Thus, Perry is distinct and not determinative. Moreover,

 as discussed below, laches may not apply to prospective injunction



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 relief. Regardless, laches will not bar the Plaintiffs’ requests for a

 preliminary injunction in this case.

       First, it is not clear laches applies when a plaintiff seeks pro-

 spective relief for continuing constitutional violations. See Garza

 v. Cty. of Los Angeles, 918 F.2d 763, 772 (9th Cir. 1990); see also

 Peter Letterese & Assocs. Inc., v. World Inst. of Scientology Enters.

 Int’l, 533 F.3d 1287, 1321 (11th Cir. 2008) (stating in a copyright

 case “laches serves as a bar only to the recovery of retrospective

 damage, not to prospective relief”). And laches has not prevented

 courts in this Circuit from entering prospective injunctive relief in

 close temporal proximity to an election. See, e.g., Ga. Coal. for the

 People’s Agenda, Inc. v. Deal, 214 F. Supp. 3d 1344, 1345-46 (S.D.

 Ga. 2016); Common Cause/Ga. v. Billups, 406 F. Supp. 2d 1326,

 1376 (N.D. Ga. 2005); Fla. Democratic Party v. Detzner, No. 4:16-

 cv-607, 2016 WL 6090943 at *9-*10 (N.D. Fla. Oct. 16, 2016).

       Second, even if laches were to apply, it is a factually-intense

 question that requires a court to determine whether the delay is

 excusable based not only on the period of the delay, but the reasons

 for the delay. See SunAmerica Corp. v. Sun Life Assurance Co. of

 Can., 77 F.3d 1325, 1345 (11th Cir. 1996); Studiengesellschaft

 Kohle mbH v. Eastman Kodak Co., 616 F.2d 1315, 1325 (5th Cir.

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 1980). Therefore, as other district courts have also recently found,

 this Court concludes that laches does not bar the Plaintiffs’ request

 for an injunction. See, e.g., Ga. Coal. for People’s Agenda, Inc. v.

 Kemp, No. 1:18-cv-04727, 2018 WL 5729058 (N.D. Ga. Nov. 2,

 2018); Martin v. Kemp, No. 1:18-cv-4776, 2018 WL 5276242 (N.D.

 Ga. Oct. 24, 2018).

                                  C

       The Defendants also assert the doctrine of res judicata bars

 the Plaintiffs’ claims. For res judicata to apply, Defendants must

 establish four elements: (1) there must be a prior decision that is a

 final judgment on the merits; (2) rendered by a court of competent

 jurisdiction; (3) both cases involve the same parties; and (4) both

 cases must involve the same causes of action. In re Piper Aircraft

 Corp., 244 F.3d 1289, 1296 (11th Cir. 2001). Cases involve the

 same cause of action if they arise out of the same nucleus of oper-

 ative facts. Id. at 1297. Res judicata bars the litigation of matters

 that were raised or could have been raised in an earlier suit.

 McKinnon v. Blue Cross & Blue Shield of Ala., 935 F.2d 1187, 1192

 (11th Cir. 1991). A claim could have been raised if it existed at the

 time the complaint in the first case was filed. Manning v. City of

 Auburn, 953 F.2d 1355, 1360 (11th Cir. 1992). Not every potential

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 claim arising prior to a final judgment in a previous case must be

 brought into the pending litigation or risk being lost forever. Id.

 The application of res judicata is not strictly mechanical, courts

 have some discretion in deciding whether it applies. Maldonado v.

 U.S. Atty. Gen., 664 F.2d 1369, 1375 (11th Cir. 2011).

       The Defendants argue the Plaintiffs should have raised the

 issue of whether signature matching is constitutional in a case pre-

 viously decided by this Court. Fla. Democratic Party v. Detzner,

 No. 4:16-cv-607, 2016 WL 6090943 (N.D. Fla. Oct. 16, 2016). In

 that case, the plaintiffs were deprived of the right to vote in an

 election because state law required the rejection of their votes

 without any opportunity to cure a mismatched signature. Res ju-

 dicata is inapplicable for two reasons. First, the cases do not in-

 volve the same parties. A Plaintiff in this case, Bill Nelson for U.S.

 Senate, was not a party to the first case. In the present contro-

 versy, Bill Nelson is suing as a candidate. It is no answer to say he

 is a part of the Democratic Party Executive Committee because, in

 this case, he is suing in a different capacity. The position the De-

 fendants ask this Court to adopt—that every future candidate for

 office is barred from challenging an election law that was previ-

 ously challenged—is nonsense. Second, the cases do not involve the

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 same causes of action. This case involves a different election that

 was conducted using amended state law election procedures.

 Plaintiffs now allege that, despite a cure period, voters are still

 unconstitutionally denied the right to vote because state election

 law requires ballots with mismatched signatures be rejected. This

 is not a situation where the Plaintiffs are trying to take a second

 bite at the apple. Rather, this is a new alleged constitutional vio-

 lation under a different iteration of state law that did not exist at

 the time the complaint was filed in the first case. See Kirksey v.

 City of Jackson, 714 F.2d 42, 44 (5th Cir. 1983) (“ ‘Faced with

 changing law, courts hearing questions of constitutional right can-

 not be limited by res judicata.’ ”) (quoting Parnell v. Rapides Parish

 Sch. Bd., 563 F. 2d 180, 185 (5th Cir. 1977)). 3 Thus, this Court

 finds the doctrine inapplicable.

                                      D

       The Defendants rely on Toney v. White, 488 F.2d 310 (5th

 Cir. 1973) (en banc), to argue that the Plaintiffs’ lawsuit is barred

 because it was not brought before the election. There is no doubt




       3  Decisions of the Fifth Circuit prior to October 1, 1981, are binding
 within the Eleventh Circuit. Bonner v. City of Pritchard, 661 F.2d 1206, 1207
 (11th Cir. 1981) (en banc).
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 Toney stated there is a “requirement of diligence,” and “the law

 imposes the duty on parties having grievances . . . to bring the

 grievances forward for pre-election adjudications.” Id. at 314.

 Thus, parties should not be permitted to “lay by and gamble upon

 receiving a favorable decision of the electorate and then, upon los-

 ing, seek to undo the ballot results in court.” Id.

       But this Court cannot read only the portions of Toney damn-

 ing to the Plaintiffs’ case. Rather, this Court must consider the en-

 tirety of Toney, which also stated that public officials in charge of

 elections must “show by clear and convincing evidence that there

 was in fact a deliberate bypass of a pre-election judicial remedy,”

 by the Plaintiffs. Id. at 315. To be sure, the dissent disagreed with

 the majority on this point. Id. at 318 (Clark, J., dissenting) (noting

 the majority erred in requiring a defendant meet the “heavy bur-

 den” of proving plaintiffs “knowingly” and “deliberately bypassed

 pre-election judicial relief” and instead stating the burden should

 be on the plaintiff to show the challenged election practices were

 not known or discoverable by the plaintiff pre-election).

       The Defendants’ argument that Toney bars the Plaintiffs’

 claim fails for a multitude of reasons. To start, Toney is a case that

 involved setting aside the results of an election and ordering a new

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 election. And notably, the Fifth Circuit affirmed the district court’s

 grant of that relief. Voiding an election is an extreme and extraor-

 dinary remedy. Here, Plaintiffs do not ask for such a remedy.

 Moreover, Plaintiffs in this case have petitioned for judicial reso-

 lution over certain issues while the election count and results are

 still pending. This is not a situation where an election result is fi-

 nal, and a losing party seeks to invalidate the result. Here, the

 counting of votes is still occurring, and the Plaintiffs want certain

 votes counted.

       Further, Toney itself recognized there are “gray” areas

 where the facts and circumstances of a case are not discovered un-

 til a “late hour.” Id. at 314. In Toney, the Fifth Circuit found there

 was no deliberate bypass of a pre-election judicial remedy by the

 plaintiffs because the racially discriminatory voter purge began

 only thirty days before the election. Id. at 315. Similarly, in this

 case, Plaintiffs did not—and could not—know prior to the election

 that this Court’s prior injunction and the subsequent amendment

 to Florida law would be such a dismal failure. As this case’s facts

 demonstrate, the opportunity to cure provided in Florida law is

 woefully inadequate. In this election, vote-by-mail voters followed

 every vote-by-mail rule to ensure their legal votes were counted.

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 See ECF Nos. 29, 32, 44. Their legal votes were rejected based on

 a signature mismatch, but they did not even receive notice that

 their votes would not count until the time to cure—as established

 by state law—had passed. 4 ECF No. 29 at 2, ¶¶ 4-5; ECF No. 32 at

 2, ¶¶ 6-7; ECF No. 44 at 2, ¶ 7. These voters went above and be-

 yond trying to get their legal votes counted. They contacted their

 local boards of election, presented valid identification, and tried to

 cure the incorrect signature mismatch determination. ECF No. 29

 at 2, ¶ 5; ECF No. 32 at 2-3, ¶ 9; ECF No. 44 at 2-3, ¶¶ 8-9, 12. But

 there was nothing they could do, and their votes were not counted.

 ECF No. 29 at 2, ¶ 6; ECF No. 32 at 3, ¶ 9; ECF No. 44 at 3, ¶ 12.

 Simply put, even if Toney does stand for the proposition that voters

 must be diligent in asserting their rights, it still supports the

 Plaintiffs’ case. There was no possible way for voters to foresee be-

 fore the election that the cure period would absolutely fail them.

       Lastly, as already noted, Toney would require Defendants in

 this case to prove by clear and convincing evidence that there was

 a deliberate bypass of a pre-election judicial remedy by Plaintiffs.



       4  This Court suggests this problem—notification of mismatch af-
 ter the time to cure has passed—could be fixed if Florida were to follow
 the lead of Oregon and provide a 14-day cure period after the election.
 See Or. Rev. Stat. § 254.431(1)(a) (2017).
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 Defendants failed to carry their burden. They have presented no

 evidence—let alone clear and convincing evidence—that the Plain-

 tiffs deliberately bypassed a pre-election judicial remedy. In one

 sense, they could argue the lawyers involved in this case should

 have foreseen problems with the statute, but even that is not clear.

 Ultimately, Plaintiffs could not have known before the election

 that the injunction entered by this Court in 2016 and the amend-

 ment to Florida law added nothing. The deficiencies of the law

 were not realized until voters were informed after the time to cure

 passed that their votes were rejected.

       To the extent the Defendants argue the Plaintiffs have failed

 to show they will suffer an irreparable injury without injunctive

 relief because they have not exercised due diligence in protecting

 their rights, that argument is rejected. As discussed above—and

 below—Plaintiffs could not have foreseen that this Court’s previ-

 ous injunction and the amended Florida law that requires an op-

 portunity to cure would, in reality, be an illusory solution that fails

 to meaningfully protect the right to vote.




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                                  III


       Under Rule 65 of the Federal Rules of Civil Procedure, a dis-

 trict court may grant a preliminary injunction “only if the moving

 party shows that: (1) it has a substantial likelihood of success on

 the merits; (2) irreparable injury will be suffered unless the injunc-

 tion issues; (3) the threatened injury to the movant outweighs

 whatever damage the proposed injunction may cause the opposing

 party; and (4) if issued, the injunction would not be adverse to the

 public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir.

 2000) (en banc). Although a “preliminary injunction is an extraor-

 dinary and drastic remedy,” it nonetheless should be granted if

 “the movant ‘clearly carries the burden of persuasion’ as to the four

 prerequisites.” United States v. Jefferson Cty., 720 F.2d 1511, 1519

 (11th Cir. 1983) (quoting Canal Auth. v. Callaway, 489 F.2d 567,

 573 (11th Cir. 1974)). None of these elements, however, is control-

 ling; rather, this Court must consider the elements jointly, and a

 strong showing of one element may compensate for a weaker show-

 ing of another. See Fla. Med. Ass’n, Inc. v. U.S. Dep’t of Health,

 Educ., & Welfare, 601 F.2d 199, 203 n.2 (5th Cir. 1979).




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                                   A


       This Court will first address whether Plaintiffs have shown

 a likelihood of success on the merits. They have.


       States retain the power to regulate their own elections. Bur-

 dick, 504 U.S. at 433 (citation omitted). This power includes the

 right to create laws that will impose some burden on the right to

 vote. Id. But the right to vote is precious and foundational for every

 other right. Wesberry v. Sanders, 376 U.S. 1, 17 (1964). When a

 court is faced with a challenge to an election law, the court must

 first determine what standard applies. For example, rational basis

 review applies when a plaintiff alleges only that a state treated

 him or her differently than similarly situated voters without a cor-

 responding burden on the fundamental right to vote. Obama for

 Am. v. Husted, 697 F.3d 423, 429 (6th Cir. 2012) (citing McDonald

 v. Bd. of Election Comm’rs, 394 U.S. 802, 807-09 (1969)). On the

 other hand, strict scrutiny applies when a state severely burdens

 the fundamental right to vote. Id. (citing Burdick, 504 U.S. at 428).

 Examples of laws triggering strict scrutiny include laws that im-

 pose a poll tax, a property ownership requirement, or a law that




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 violates the “one person one vote” principal. Lemons v. Bradbury,

 538 F.3d 1098, 1103-04 (9th Cir. 2008).

       But most cases involving election laws fall in between these

 two standards. This is such a case. Thus, the more flexible Ander-

 son-Burdick standard applies. Under Anderson-Burdick, a court

 considering a challenge to a state election law “must weigh ‘the

 character and magnitude of the asserted injury to the rights pro-

 tected by the First and Fourteenth Amendments that the plaintiff

 seeks to vindicate’ against ‘the precise interests put forward by the

 State as justifications for the burden imposed by its rule,’ taking

 into consideration ‘the extent to which those interests make it nec-

 essary to burden the plaintiff’s rights.’ ” Burdick, 504 U.S. at 434

 (citing Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)). When an

 election law imposes only reasonable, nondiscriminatory re-

 strictions upon the constitutional rights of voters, the states’ im-

 portant regulatory interests are generally sufficient to justify the

 restrictions. Id. But, “[h]owever slight the burden may appear . . .

 it must be justified by relevant and legitimate state interests suf-

 ficiently weighty to justify the limitations.” Common Cause/Ga. v.

 Billups, 554 F.3d 1340, 1352 (11th Cir. 2009). This is not a litmus

 test, rather the court must balance these factors and make hard

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 judgments. Crawford v. Marion Cty. Election Bd., 553 U.S. 181,

 190 (2008). Finally, “Anderson/Burdick balancing . . . should not

 be divorced from reality, and [] both the burden and legitimate reg-

 ulatory interest should be evaluated in context.” Obama for Am.,

 697 F.3d at 441 (White, J., concurring); see also Swanson v. Worley,

 490 F.3d 894, 909 (11th Cir. 2007).

       Applying the framework here, this Court first identifies the

 asserted injury. Here, the injury is the deprivation of the right to

 vote based on a standardless determination made by laypeople

 that the signature on a voters’ vote-by-mail or provisional ballot

 does not match the signature on file with the supervisor of elec-

 tions. There are dozens of reasons a signature mismatch may oc-

 cur, even when the individual signing is in fact the voter. Disen-

 franchisement of approximately 5,000 voters based on signature

 mismatch is a substantial burden. Indeed, “[n]o right is more pre-

 cious in a free country than that of having a voice in the election of

 those who make the laws under which, as good citizens, we must

 live. Other rights, even the most basic, are illusory if the right to

 vote is undermined.” Wesberry, 376 U.S. at 1.




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       Next, this Court turns to the precise interests put forward

 by the Defendants: to prevent fraud, to efficiently and quickly re-

 port election results, and to promote faith and certainty in election

 results. These are all compelling interests. See Crawford, 553 U.S.

 at 225 (“There is no denying the abstract importance, the compel-

 ling nature, of combating voter fraud.”); see also Timmons v. Twin

 Cities Area New Party, 520 U.S. 351, 364 (1997) (states have a le-

 gitimate interest “in protecting the integrity, fairness, and effi-

 ciency of their ballots and election process as means for electing

 public officials”).

       What this case comes down to is that without procedural

 safeguards, the use of signature matching is not reasonable and

 may lead to unconstitutional disenfranchisement.

       Signature matching is a questionable practice, but it is hard

 to think of another way for canvassing boards to confirm vote-by-

 mail voters’ identities. What makes Florida’s signature matching

 process even more problematic is that fact that counties have dis-

 cretion to apply their own standards and procedures. Certain coun-

 ties, such as Leon County, go above and beyond to ensure voters




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 have a chance to cure a signature mismatch. 5 But nothing in the

 law requires that and other counties may choose not to exercise the

 level of care and concern Leon County does. The only way such a

 scheme can be reasonable is if there are mechanisms in place to

 protect against arbitrary and unreasonable decisions by canvass-

 ing boards to reject ballots based on signature mismatches. In

 Lemons, the Ninth Circuit upheld the use of signature matching

 for referendum petitions. Lemons, 528 F.3d at 1102. But in that

 decision, the court noted “the verification process is already

 weighted in favor of accepting questionable signature, in part be-

 cause only rejected signatures are subject to more than one level

 of review by county elections officials,” and the “procedures . . . al-

 low chief petitioners and members of the public to observe the sig-

 nature verification process and challenge decisions by county elec-

 tions officials.” Id. at 1105.

       The cure period was intended to solve the inherent problems

 in signature matching, but the opportunity to cure has proven il-

 lusory. Vote-by-mail voters, in this election, were not notified of a




       5  Leon County Supervisor of Elections Mark Earley described in
 his testimony before this Court the great lengths the canvassing board
 of Leon County goes to in order to ensure every legal vote is counted.
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 signature mismatch problem until it was too late to cure. Provi-

 sional ballot voters are provided no opportunity to cure under the

 law. Without this Court’s intervention, these potential voters have

 no remedy. Rather, they are simply out of luck and deprived of the

 right to vote. What is shocking about Florida law is that even

 though a voter cannot challenge a vote rejected as illegal, any voter

 or candidate could challenge a vote accepted as legal. The burden

 on the right to vote, in this case, outweighs the state’s reasons for

 the practice. Thus, under Anderson-Burdick, this scheme uncon-

 stitutionally burdens the fundamental right of Florida citizens to

 vote and have their votes counted.

       This Court notes the Plaintiffs’ claims are brought under the

 Fourteenth Amendment, but they have not made any argument

 their rights to procedural due process have been violated. How-

 ever, as an aside, this Court further notes that as my colleague

 recently found in a case involving a similar Georgia law, the stat-

 utory scheme presents procedural due process concerns as well.

 See Martin v. Kemp, No. 1:18-cv-4776, 2018 WL 5276242 (N.D. Ga.

 Oct. 24, 2018).




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                                   B


       The remaining injunction factors also weigh in the Plaintiffs’

 favor. This Court finds that the Plaintiffs have established irrepa-

 rable injury. Here, potentially thousands of voters have been de-

 prived of the right to cast a legal vote—and have that vote

 counted—by an untrained canvassing board member based on an

 arbitrary determination that their respective signatures did not

 match. Such a violation of the right to vote cannot be undone. See

 Detzner, 2016 WL 6090943 at *8 (“This is not golf; there are no

 mulligans.”) (quoting Fla. Democratic Party v. Scott, No.4:16-cv-

 626, at 13).


       Defendants argue to the contrary. They say the Plaintiffs

 “knew about the alleged constitutional violations for years, yet did

 nothing about it,” and that electors qualified to vote may nonethe-

 less contest the certification of election results. ECF No. 27, at 25-

 26. Not so.


       First, some Plaintiffs clearly relied—much to their dismay—

 on a recently enacted statutory guarantee of notice and an oppor-

 tunity to cure a mismatched ballot before the election. See ECF

 Nos. 29, 32, 44, 45. None had reason to know the system would fail

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 them. The Plaintiffs here are not expected to search and destroy

 every conceivable potential unconstitutional deprivation they

 might suffer in advance of the election. Nor are the other Floridi-

 ans that relied on the 2017 law working.


       Second, a voter’s opportunity to contest the certification of

 election results under Florida Statutes § 102.168 will not prevent

 irreparable harm. The voter’s potential remedy under Section

 102.168 is limited to a circuit court’s review of only the voter’s sig-

 nature on the voter’s certificate and the signature of the voter in

 the registration records. Id. § 102.168(8). The review is to deter-

 mine whether “the canvassing board abused its discretion in mak-

 ing its decision.” Id. But to cure an allegedly mismatched vote-by-

 mail or provisional ballot, the voter may present identification or

 other forms of proof. The Plaintiffs are likely to nonetheless suffer

 irreparable harm even with the availability of the election contest

 provisions.


       The balances of hardships also favor Plaintiffs. The Defend-

 ants surely have an interest in an orderly administration of the

 election. See Crawford, 553 U.S. at 196. The Defendants argue that

 requiring additional procedures—to ensure legal votes are


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 counted—will unduly burden the election. They also argue that the

 disruption of election procedures—to ensure legal votes are

 counted—will erode public confidence in the electoral process. But,

 as recently stated by another district court this “[c]ourt does not

 understand how assuring that all eligible voters are permitted to

 vote undermines the integrity of the election process.” Martin v.

 Kemp, No. 1:18-cv-4776, 2018 WL 5276242 at *10 (N.D. Ga. Oct.

 24, 2018). Regardless, any potential hardship imposed by provid-

 ing an actual opportunity to challenge the determination that a

 signature does not match, and thus, a vote does not count, is out-

 weighed by the risk of unconstitutionally depriving eligible voters

 of their right to vote and have that vote counted.


       Finally, the injunction is in the public interest. The right of

 voters to cast their ballots and have them counted is guaranteed

 in the Constitution. United States v. Classic, 315 U.S. 229, 315

 (1941). Once again, Florida’s statutory scheme threatens that right

 by rejecting votes based on signature mismatch without an oppor-

 tunity to challenge that determination.




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                                   IV

       This Order requires Plaintiffs to give security for costs in a

 modest amount; namely, $500.00. Any party may move at any time

 to adjust the amount of security.

                                   V


       Stays pending appeal are governed by a four-part test: “(1)

 whether the stay applicant has made a strong showing that he is

 likely to succeed on the merits; (2) whether the applicant will be

 irreparably injured absent a stay; (3) whether issuance of the stay

 will substantially injure the other parties interested in the pro-

 ceeding; and (4) where the public interest lies.” Hilton v. Braun-

 skill, 481 U.S. 770, 776 (1987); see also Venues Lines Agency v. CVG

 Industria Venezolana De Aluminio, C.A., 210 F.3d 1309, 1313

 (11th Cir. 2000). Courts rarely stay a preliminary injunction pend-

 ing appeal given that the test for a stay is so similar to the test for

 a preliminary injunction. There are no exceptional circumstances

 justifying the stay pending appeal in this case.




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                                  VI


       Let this Court be clear: it is NOT ordering county canvassing

 boards to count every mismatched vote, sight unseen. Rather, the

 county supervisors of elections are directed to allow those voters

 who should have had an opportunity to cure their ballots in the

 first place to cure their vote-by-mail and provisional ballots now,

 before the second official results are fully counted. This should give

 sufficient time, within the state’s and counties’ current adminis-

 trative constraints, for Florida’s voters to ensure their votes will

 be counted.


       This is therefore a limited order providing limited relief for

 a limited number of affected voters. Across 45 of Florida’s 67 coun-

 ties, there are just over 4,000 rejected ballots for mismatched sig-

 natures. The county supervisors of elections and canvassing

 boards are surely up to the task. When this Court proceeds to the

 merits, it may consider additional relief. However, in balancing the

 equities for this emergency motion, this is the only constitutional

 cure that takes into account all the parties’ concerns.




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       IT IS THEREFORE ORDERED:


       1. Plaintiffs’ Motion for Preliminary Injunction, ECF No. 3,

          is GRANTED.

       2. Defendant Detzner is ordered to issue a directive to the

          supervisors of elections (with this Order attached) advis-

          ing them (1) Florida’s statutory scheme as it relates to

          curing mismatched-signature ballots has been applied

          unconstitutionally; and (2) in light of this Court’s order,

          they are required to allow voters who have been belat-

          edly notified they have submitted a mismatched-signa-

          ture ballot to cure their ballots by November 17, 2018, at

          5:00 p.m. The supervisors of elections shall allow mis-

          matched-signature ballots to be cured in the same man-

          ner and with the same proof a mismatched-signature

          ballot could have otherwise been cured before November

          5, 2018, at 5:00 p.m.

       3. The preliminary injunction set out above will take effect

          upon the posting of security in the amount of $500 for

          costs and damages sustained by a party found to have




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          been wrongfully enjoined. Plaintiffs will immediately no-

          tify Defendant when the bond has been posted and

          thereafter immediately file proof of such notice through

          the electronic case files system.

       4. Likewise, upon receipt of the notice of the posting of se-

          curity, Defendant shall notify this Court whether he in-

          tends to comply with this Order by filing a notice

          through the electronic case files system on or before 5:00

          P.M. on November 15, 2018.

       5. Defendants’ motions to stay the preliminary injunction

          are DENIED.


       SO ORDERED on November 15, 2018.

                         s/Mark E. Walker
                         Chief United States District Judge




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